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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al.,1                             Case No. 24-12480 (LSS)

                                   Debtors.                      (Jointly Administered)


                                            AFFIDAVIT OF SERVICE

       I, Nelson Crespin, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

       On February 13, 2025, at my direction and under my supervision, employees of Kroll
caused the following document to be served via Overnight Mail on Kerrick Bachert PSC, Attn:
Scott A. Bachert, 1411 Scottsville Road, P. O. Box 9547, Bowling Green KY 42102-9547:

       •      Second Amended Notice of Agenda for Hearing of Matters Scheduled for February 13,
              2025 at 10:00 a.m. (ET) [Docket No. 974]


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1
    The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach, Virginia 23456.
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Dated: March 7, 2025
                                                                /s/ Nelson Crespin
                                                                 Nelson Crespin
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 7, 2025, by Nelson Crespin, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.


/s/ PAUL PULLO
Notary Public, State of New York
No. 01PU6231078
Qualified in Nassau County
Commission Expires November 15, 2026




                                             2                                 SRF 86055
